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  8                           UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
  10
       CHAIM DANIEL WOLMARK, et al.               Case No. 2:25−cv−02716−FLA−JPR
  11
              Plaintiff(s),
  12                                              STANDING ORDER
                          v.
  13
     STATE FARM MUTUAL
  14 AUTOMOBILE INSURANCE
     COMPANY, et al.
  15
          Defendant(s).
  16
  17
  18
  19          PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THIS

  20    ACTION AND DIFFERS IN SOME RESPECTS FROM THE LOCAL

  21    RULES. Counsel for Plaintiff(s) shall serve this order immediately on all parties

  22    and/or their attorney(s), including any new parties to the action. If this action has

  23    been removed from the state court, the defendant who removed the action shall

  24    serve this order on all other parties.

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  27    ///

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  1    I.   INTRODUCTION

  2         This action has been assigned to the calendar of United States District Judge

  3    Fernando L. Aenlle-Rocha. Both the court and counsel bear responsibility for the

  4    progress of this action. To “secure the just, speedy, and inexpensive determination”

  5    of the action, Fed. R. Civ. P. 1, all parties or their counsel, including pro se

  6    litigants,1 are ordered to be familiar with the Federal Rules of Civil Procedure, the

  7    Local Rules of the Central District of California (“Local Rules”), and this court’s

  8    standing orders, online procedures, and schedules.

  9         Unless the court orders otherwise, the following rules shall apply.

  10        A.       Service of the Complaint

  11        Plaintiff shall promptly serve the complaint in accordance with Fed. R. Civ.

  12   P. 4 and file the proofs of service pursuant to Local Rule 5-3.1. Any defendant not

  13   timely served under Fed. R. Civ. P. 4(m), including “Doe” or fictitiously named

  14   defendants, shall be dismissed from the action.

  15        B.       Removed Actions

  16        All documents filed in state court, including documents appended to the

  17   complaint, answers, and motions, must be re-filed in this court as a supplement to

  18   the notice of removal. See 28 U.S.C. § 1447(a) and (b). Any pending motions must

  19   be re-noticed in accordance with Local Rule 7. Counsel shall file with his or her

  20   first appearance a Notice of Interested Parties in accordance with Local Rule 7.1-1.

  21        If an action removed to this court contains a state court Judicial Council form

  22   pleading (i.e., a pleading in which a party selects claims or defenses by checking

  23   boxes), the party that filed the form pleading must file a revised pleading that

  24   complies with Fed. R. Civ. P. 7, 7.1, 8, 9, 10 and 11, within thirty (30) days of

  25   receipt of the Notice of Removal.

  26   ____________________

  27
       1 Parties appearing pro se must comply with the Federal Rules of Civil Procedure
  28   and the Local Rules. See Local Rules 1-3 and 83-2.2.3.


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  1          C.      Assignment to a United States Magistrate Judge

  2          Under 28 U.S.C. § 636, the parties may consent to have a Magistrate Judge

  3    preside over all proceedings, including trial. The Magistrate Judges who accept

  4    those designations are identified on the Central District Court’s website, which also

  5    contains the consent form.

  6          D.      Calendar Conflicts

  7          If any counsel discovers a calendar conflict with a scheduled appearance in a

  8    court of a more senior district judge, counsel must inform opposing counsel and the

  9    Courtroom Deputy Clerk via chambers email address at

  10   twyla_freeman@cacd.uscourts.gov as soon as possible and not later than three (3)

  11   business days before the scheduled appearance. Counsel should attempt to agree on

  12   a new date to accommodate the calendar conflict. Counsel must propose a new date

  13   by Stipulation and [Proposed] Order.

  14   II.   DISCOVERY

  15         A.      Discovery Matters Referred to United States Magistrate Judge

  16         All discovery matters are hereby referred to the assigned Magistrate Judge,

  17   who will hear all discovery disputes. The Magistrate Judge’s initials follow the

  18   district judge’s initials next to the action number. All discovery-related documents

  19   must include the words “DISCOVERY MATTER” in the caption to ensure proper

  20   routing. Counsel are directed to contact the Magistrate Judge’s Courtroom Deputy

  21   Clerk to schedule matters for hearing and must follow the Magistrate Judge’s

  22   procedures for scheduling matters for hearing. These procedures are stated on each

  23   Magistrate Judge’s webpage.

  24         In accordance with 28 U.S.C. § 636(b)(1)(A), the Magistrate Judge’s decision

  25   shall be final, and this court will not reverse any order of the Magistrate Judge

  26   unless it has been shown that the Magistrate Judge’s order is clearly erroneous or

  27   contrary to law. Any party may file and serve a motion for review and

  28   reconsideration before this court. See Local Rule 72-2. The moving party must file


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  1    and serve the motion within fourteen (14) days of service of a written ruling or

  2    within fourteen (14) days of an oral ruling the Magistrate Judge states will not be

  3    followed by a written ruling. The motion must specify which portions of the ruling

  4    are clearly erroneous or contrary to law and support the contention with points and

  5    authorities. Counsel shall deliver a conformed copy of the moving papers and

  6    responses to the Magistrate Judge’s Courtroom Deputy Clerk at the time of filing.

  7          B.      Compliance with Fed. R. Civ. P. 26(a)

  8          Unless there is a likelihood that, upon motion by a party, the court would

  9    order that discovery be stayed, the parties should begin to propound discovery

  10   before the Scheduling Conference. The parties must comply fully with the letter

  11   and spirit of Fed. R. Civ. P. 26(a) and produce discovery promptly. At the

  12   Scheduling Conference, the court will impose deadlines governing the completion

  13   of discovery.

  14   III. MOTIONS − GENERAL REQUIREMENTS

  15         A.      Time for Filing and Hearing Motions

  16         Motions shall be filed in accordance with Local Rules 6 and 7. The court

  17   hears motions in civil actions on Fridays, beginning at 1:30 p.m. It is not necessary

  18   to clear a hearing date with the Courtroom Deputy Clerk before filing a motion,

  19   except for motions for summary judgment, temporary restraining orders, or

  20   preliminary injunctions. The parties must adhere to the briefing schedule set forth

  21   in Local Rules 7-9 and 7-10, and the schedule herein for Fed. R. Civ. P. 56 motions,

  22   to afford the court adequate time to prepare for the hearing. If the motion hearing

  23   date selected is not available, the court will issue an order continuing the hearing.

  24   Professional courtesy dictates, and the court fully expects, the parties will

  25   accommodate each other’s schedules, including vacations and holidays, whenever

  26   possible. The parties should not calendar a matter on a Friday that is a court

  27   holiday. If this occurs, the court will re-calendar the matter for another Friday.

  28   ///


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  1         B.       Pre-Filing Requirement to Meet and Confer

  2         Counsel must comply with Local Rule 7-3, which requires counsel to engage

  3    in a pre-filing conference “to discuss thoroughly ... the substance of the

  4    contemplated motion and any potential resolution.” Counsel shall discuss the issues

  5    to a sufficient degree that if a motion is still necessary, the briefing may be directed

  6    to those substantive issues requiring resolution by the court. Counsel shall resolve

  7    minor procedural or other non-substantive matters during the conference. The pro

  8    se status of one or more parties does not negate this requirement. The Notice of

  9    Motion must include a statement of compliance with Local Rule 7-3. The court

  10   may strike or deny a motion if counsel fail to meet and confer in good faith.

  11        C.       Length and Format of Motion Papers

  12        Memoranda of points and authorities shall not exceed 7,000 words. See

  13   Local Rule 11-6.1. A handwritten brief or a brief prepared using a typewriter may

  14   not exceed 25 pages, excluding the caption (if on a separate cover page), the table

  15   of contents, the table of authorities, the signature block, and any indices and

  16   exhibits. All submitted briefs must be accompanied by a Certificate of Compliance

  17   as set forth in Local Rule 11-6.2. Replies shall not exceed 4,200 words or fifteen

  18   (15) pages for handwritten briefs and briefs prepared using a typewriter. Only in

  19   rare instances and for good cause shown will the court grant an application to

  20   extend these word or page limitations. No supplemental brief shall be filed without

  21   prior leave of court.

  22        Pursuant to Local Rule 11-3.1.1, either a proportionally spaced or

  23   monospaced face may be used. Typeface shall comply with Local Rule 11-3.1.1.

  24   Times New Roman font must be no less than fourteen (14) point, and Courier font

  25   must be no less than twelve (12) point. Footnotes shall be in the same font and the

  26   same size as the body of the memorandum.

  27        Counsel shall adhere to Local Rule 5-4.3 with respect to the conversion of all

  28   documents to .pdf so that when a document is e-filed, it is in the proper size, is


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  1    searchable, and the text can be selected and copied. See Local Rule 5-4.3.1.

  2         D.       Citations to Case Law

  3         Bluebook style is required. Citations to case law must identify not only the

  4    case cited, but the specific page referenced. For example, if a quotation is

  5    presented, the associated page citation shall be provided. Similarly, if a case is

  6    cited in support of a proposition based on language in the opinion, the page on

  7    which such language appears shall be provided.

  8         E.       Citations to Other Sources

  9         Bluebook style is required. Statutory references must identify with

  10   specificity the sections and subsections referenced. Citations to treatises, manuals,

  11   and other materials should include the volume, section, and pages being referenced.

  12   Citations to prior filings in the same action shall include the docket entry number,

  13   section, and pages referenced.

  14        F.       Oral Argument

  15        If the court deems a matter appropriate for decision without oral argument,

  16   the court will take the matter under submission and notify the parties before the

  17   hearing.

  18        The parties’ lead counsel are encouraged to permit junior or less experienced

  19   litigators to participate in court proceedings, including to argue motions and to

  20   examine witnesses at trial. The court is more likely to hear oral argument if a party

  21   notes in its moving or opposing papers, in bold and underlined font, that a litigator

  22   who graduated from law school within the last five (5) years, or otherwise has had

  23   minimal oral advocacy experience, will conduct the argument.

  24   IV. SPECIFIC MOTION REQUIREMENTS

  25        A.       Motions Pursuant to Fed. R. Civ. P. 12

  26        Many motions to dismiss or strike can be avoided if the parties confer in

  27   good faith as required by Local Rule 7-3, especially for perceived defects in a

  28   complaint, answer, or counterclaim that can be corrected by amendment. See


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  1    Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir. 1996) (where a motion to dismiss is

  2    granted, a district court should grant leave to amend unless it is clear the complaint

  3    cannot be saved by amendment). Moreover, a party has the right to amend the

  4    complaint “once as a matter of course within: (A) 21 days after serving it, or (B) if

  5    the pleading is one to which a responsive pleading is required, 21 days after service

  6    of a responsive pleading or 21 days after service of a motion under Rule 12(b), (e),

  7    or (f), whichever is earlier.” Fed. R. Civ. P. 15(a)(1). Even after a complaint has

  8    been amended or a responsive pleading has been served, leave to amend shall be

  9    “freely give[n]... when justice so requires.” Fed. R. Civ. P. 15(a)(2). Indeed, the

  10   Ninth Circuit requires the policy favoring amendment to be applied with “extreme

  11   liberality.” Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th

  12   Cir. 1990).

  13        Thus, parties should carefully consider and weigh an opponent’s contentions

  14   as to the deficiencies in a pleading. In most instances, the parties should agree to

  15   any amendment that would cure the defect.

  16        B.       Motions to Amend

  17        In addition to the requirements of Local Rule 15-1, all motions to amend

  18   pleadings shall include “clean” and “redlined” versions of the proposed amended

  19   pleading, identifying all additions and deletions of material, as attachments to the

  20   moving papers.

  21        C.       Motions for Class Certification

  22        Notwithstanding Local Rule 23-3, the deadline for the filing of a motion for

  23   class certification will be set pursuant to the parties’ stipulation during the

  24   Scheduling Conference or in a Scheduling Order. No request for relief from Local

  25   Rule 23-3 is necessary.

  26        D.       Summary Judgment Motions

  27        No party may file more than one motion pursuant to Fed. R. Civ. P. 56

  28   regardless of whether such motion is denominated a motion for summary judgment


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  1    or summary adjudication, without leave of court. The parties shall not attempt to

  2    evade the word or page limitations for briefs by filing multiple motions. If a party

  3    believes good cause exists for more than one summary judgment motion or to

  4    increase word or page limits, the party shall seek leave by noticed motion setting

  5    forth a detailed showing of good cause. Failure to do so will result in the striking of

  6    the motion(s). Pursuant to Fed. R. Civ. P. 56(f), when appropriate, based on

  7    undisputed facts and controlling principles of law, the court may sua sponte enter

  8    summary judgment in favor of the non-moving party.

  9         Also, the court will not entertain cross-motions that seek to adjudicate the

  10   same legal issues. If parties wish to cross-move for summary judgment, their

  11   counsel shall meet and confer to determine which party will move and which will

  12   oppose the one motion for summary judgment. In actions involving multiple sets of

  13   parties represented by separate counsel (such as a case involving two sets of

  14   defendants which are each represented by their own counsel), the parties shall meet

  15   and confer regarding the briefing schedule for the one motion for summary

  16   judgment. Any requests for additional motions, pages, or words based on the

  17   existence of multiple sets of parties must be supported by a showing of good cause.

  18   All non-compliant motions will be stricken absent leave of court.

  19        Parties need not wait until the motion cutoff date to bring motions for

  20   summary judgment or partial summary judgment. The hearing on any such motion

  21   shall be set for a date in advance of the Final Pretrial Conference. This court

  22   requires an extended briefing schedule for motions under Rule 56, as follows:

  23         •   Any Rule 56 Motion must be filed at least thirty-five (35) days before

  24             the noticed hearing date.

  25         •   Any Opposition must be filed at least twenty-one (21) days before the

  26             noticed hearing date (fourteen (14) days after the Motion is filed).

  27         •   Any Reply must be filed at least fourteen (14) days before the noticed

  28             hearing date (seven (7) days after the opposition is filed).


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   1    This briefing schedule is the default. The parties may stipulate to a modified

   2    schedule that is reasonable for all parties and provides the court at least two weeks

   3    between the reply deadline and the hearing date.

   4         The parties should prepare papers in a fashion that will assist the court in

   5    processing and analyzing the facts, including through the use of tables of contents,

   6    headings, indices, bookmarks in electronic documents, and pinpoint citations. The

   7    parties shall comply with Local Rules 56-1 through 56-2, considering the court’s

   8    additional requirements described below.

   9             1. Statements of Uncontroverted Facts and Genuine Disputes

   10        The Separate Statement of Uncontroverted Facts required under Local Rule

   11   56-1 shall be prepared in a two-column table, as shown below. The left-hand

   12   column sets forth the allegedly undisputed fact. The right-hand column sets forth

   13   the evidence that supports the factual statement. The factual statements should be

   14   set forth in sequentially numbered paragraphs. Each paragraph should contain a

   15   narrowly focused statement of fact. Each numbered paragraph should address a

   16   single subject as concisely as possible. See Local Rule 56-2.

   17   Plaintiff’s Claim for ____ is Barred by the Applicable Statute of Limitations.

   18    Undisputed Fact                             Evidence
   19    1. Mike and Jane signed a contract for      Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6.
         the sale and purchase of property.
   20
   21    2. Jane mailed the contract in May          Smith Decl. ¶ 8, Ex. 21.
         2017.
   22
   23        The opposing party’s Statement of Genuine Disputes of Material Fact must

   24   be in two columns and track the movant’s separate statement exactly as prepared.

   25   The left-hand column must restate the allegedly undisputed fact and the right-hand

   26   column must state either that it is undisputed or disputed. See Local Rule 56-3.

   27   The opposing party may dispute all or only a portion of the statement, but if

   28   disputing only a portion, it must clearly indicate what part is being disputed,


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   1    followed by a brief citation to the opposing party’s evidence controverting the fact.

   2    To demonstrate that a fact is disputed, the opposing party must briefly state why it

   3    disputes the moving party’s asserted fact, cite to the relevant exhibit or other

   4    evidence, and describe the reason(s) the exhibit or evidence refutes the asserted

   5    fact. No legal argument should be set forth in this document. Disputes based on

   6    evidentiary objections should cite the relevant objection from the separate statement

   7    of evidentiary objections.

   8
         Undisputed Fact and Evidence                 Disputed/Undisputed and Evidence
   9
   10    1. Mike and Jane signed a contract for Disputed. Jane testified that the
         the sale and purchase of property.      contract was for a lease, not a
   11    Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6. purchase.
                                                 Jane Depo (Smith Decl. Ex. 4) at
   12                                            29:4-16.
   13    2. Jane mailed the contract in May           Disputed as to date. Jane testified she
   14    2017.                                        mailed the contract in June 2017.
         Smith Decl. ¶ 8, Ex. 21.                     Jane Depo. at 3:4-10.
   15
   16        The opposing party may submit additional material facts that bear on or relate

   17   to the issues raised by the movant, which shall follow the format described above

   18   for the moving party’s separate statement. These additional facts shall continue in

   19   sequentially numbered paragraphs and shall set forth in the right-hand column the

   20   evidence that supports that statement.

   21        With its Reply, the moving party shall file a Response to the Statement of

   22   Genuine Disputes of Material Fact and Additional Material Facts. See Local Rule

   23   56-4. For each fact, the Response shall restate the allegedly undisputed fact and

   24   state whether the fact is disputed or undisputed by the opposing party. If the fact is

   25   undisputed, no further response is required.

   26        If the fact is disputed, the Response shall restate the opposing party’s

   27   evidence and reason for disputing the asserted fact. The moving party may provide

   28   a response to the opposing party’s reason for dispute, including any reason why the


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   1    evidence cited by the opposing party does not create a genuine dispute and/or any

   2    additional evidence relevant to the asserted fact. This response may either be

   3    presented in three columns, with the response appearing in the right-hand column,

   4    or in two columns, with a response provided below each fact. See Local Rule 56-3.

   5          The Response may also include any response to additional material facts

   6    asserted by the non-moving party, and this response shall follow the format

   7    described above for the Statement of Genuine Disputes of Material Fact. The

   8    response to these additional facts shall continue in sequentially numbered

   9    paragraphs, and shall not restart the numbering.

   10         All facts asserted by either party, whether disputed or undisputed, and all

   11   supporting evidence cited, shall be included in the Response. Do not repeat

   12   descriptions of and citations to the evidence. If you have already described and

   13   cited the evidence once, simply refer to the earlier citation succinctly (e.g., “See

   14   supra, Fact # 1”).

   15             2. Supporting Evidence

   16         No party shall submit evidence other than the specific items of evidence or

   17   testimony necessary to support or controvert a proposed statement of undisputed

   18   fact. For example, entire deposition transcripts, entire sets of interrogatory

   19   responses, and documents that do not specifically support or controvert material in

   20   the separate statement shall not be submitted in opposition to a motion for summary

   21   judgment. Evidence submitted in support of or in opposition to a motion should be

   22   submitted either by way of stipulation or as exhibits to declarations sufficient to

   23   authenticate the proffered evidence, and should not be attached to the memorandum

   24   of points and authorities. Documentary evidence for which there is no stipulation

   25   regarding foundation must be accompanied by the testimony, either by declaration

   26   or properly authenticated deposition transcript, of a witness who can establish

   27   authenticity.

   28   ///


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   1               3. Objections to Evidence

   2          If a party disputes a fact based in whole or in part on an evidentiary

   3    objection, the ground for the objection should be stated succinctly in a separate

   4    statement of evidentiary objections in a two-column format. The left column

   5    should identify the evidence objected to (i.e., the evidentiary objections must be

   6    directed to evidence, not purported facts), including page and line number if

   7    applicable, and the right column should set forth a concise objection (e.g., hearsay,

   8    lack of foundation, etc.) with a citation to the Federal Rules of Evidence or, where

   9    applicable, a case citation. A proposed order shall be filed and attached to the

   10   evidentiary objections as a separate document consistent with Local Rule 52-4.1

   11   and emailed in Word format directly to the court’s chambers email address at

   12   fla_chambers@cacd.uscourts.gov.

   13         The court treats motions to admit or exclude evidence, including expert

   14   testimony and/or reports, as motions in limine subject to the requirements set forth

   15   in the court’s Scheduling and Trial Order. Challenges to expert testimony and/or

   16   reports should be brought as motions in limine. Failure to comply with the court’s

   17   orders may result in the striking of a motion.

   18         E.      Motion for Attorney’s Fees

   19         Motions for attorney’s fees shall be e-filed and set for hearing according to

   20   Local Rule 6-1 and this Order. Any motion or request for attorney’s fees shall

   21   attach two summaries, in table form, of the hours worked by and billing rate of each

   22   attorney with title (i.e., partner, counsel, associate, etc.).

   23         The first table shall include a summary of the hours worked by each attorney,

   24   organized by task (i.e., discovery, motion to dismiss, motion for summary

   25   judgment). If the hourly rate charged by any individual attorney changed while the

   26   action was ongoing, the party shall provide separate calculations for the total

   27   number of hours the attorney spent in connection with each task at each hourly rate.

   28   ///


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   1           The second table shall include a summary of the hours worked by each

   2    attorney, organized by attorney. This table shall list all the tasks on which the

   3    attorney worked, the hours worked on each task, and the hourly rate of each

   4    attorney.

   5           All tables shall be attached to the motion and electronically filed. The

   6    courtesy copy of the table shall be emailed to the court’s chambers email address at

   7    fla_chambers@cacd.uscourts.gov as a Microsoft Excel file with all restrictions

   8    removed so the spreadsheet can be edited.

   9    V.     ADDITIONAL REQUIREMENTS

   10          A.     Proposed Orders

   11          Each party filing or opposing a motion or seeking the determination of any

   12   matter shall serve and electronically lodge a proposed order setting forth the relief

   13   or action sought and a brief statement of the rationale for the decision with

   14   appropriate citations. In addition, a copy of the proposed order in Word format

   15   shall be emailed directly to the court’s chambers email address at

   16   fla_chambers@cacd.uscourts.gov on the day the document is e-filed.

   17          The parties must use the template for proposed orders available on Judge

   18   Aenlle-Rocha’s website. The proposed order must include the entire relief the

   19   parties seek. Failure to email a proposed order in Word format using the court’s

   20   template may result in the court striking the motion, application, or stipulation

   21   without consideration of the request on its merits.

   22          B.     Chambers Courtesy Copies

   23          The processing of unnecessary chambers copies wastes resources and

   24   burdens the court. Chambers copies should not be submitted unless requested. This

   25   order, however, is not intended to affect the parties’ ability to file and lodge

   26   documents and materials that are exempt from electronic filing under Local Rule 5-

   27   4.2.

   28   ///


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   1         The court refers the parties to the Scheduling and Trial Order for details

   2    regarding mandatory chambers copies for pretrial documents and trial exhibits.

   3         C.       Proposed Protective Orders

   4         Proposed protective orders pertaining to discovery must be submitted to the

   5    assigned Magistrate Judge. Protective orders must not purport to allow any matters

   6    to be filed under seal in connection with dispositive motions (including a class

   7    certification motion) or trial without a court order. The existence of a protective

   8    order alone does not authorize the filing of pleadings or other documents under seal

   9    in whole or in part.

   10        D.       Filing Under Seal

   11        Local Rule 79-5 governs applications to file documents under seal. Local

   12   Rule 79-5.2.2 explains how to apply to file under seal and how to proceed if leave

   13   is granted. Parties must comply with all provisions of Local Rule 79-5.

   14        There is a strong presumption of access in civil actions. Foltz v. State Farm

   15   Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). For each document or

   16   other type of information a party seeks to file under seal, the party must identify

   17   and discuss the factual and/or legal justification that establishes “good cause” or

   18   “compelling reasons” for the information to be protected. Kamakana v. City and

   19   County of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006).

   20        Documents that are not confidential or privileged in their entirety should not

   21   be filed under seal if the confidential portions can be redacted and filed separately

   22   with a reasonable amount of effort. The parties should file a complete version of

   23   the documents under seal and a redacted version for public viewing, omitting only

   24   the portions that the court has authorized to be filed under seal.

   25        Sealing must be justified for each individual item: blanket claims of

   26   confidentiality will result in the application to seal being denied. Counsel is

   27   strongly encouraged to consider carefully whether sealing or redaction is absolutely

   28   required for a given piece of evidence or argument. An application to seal that


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   1    includes meritless requests to seal or redact documents will be denied. The parties

   2    also must meet and confer before filing an application to seal.

   3         E.       Appearance at Hearings

   4         The court requires in-person attendance for all hearings and trials, unless

   5    otherwise instructed by the court. The court may permit appearances by telephone

   6    or video conference for status conferences upon a showing that a personal

   7    appearance will cause undue hardship. If you wish to appear by telephone or video

   8    conference, you must:

   9         1.       email the Courtroom Deputy Clerk and copy opposing counsel at least

   10                 three (3) court days in advance of the scheduled appearance and

   11                 provide a detailed statement of undue hardship;

   12        2.       use a landline to call into the bridge line provided by the Courtroom

   13                 Deputy Clerk or use a hardline internet connection to connect to the

   14                 Zoom link for the court; and

   15        3.       be available and ready to call in for at least fifteen (15) minutes before

   16                 the time of the scheduled hearing.

   17        F.       Ex Parte Applications

   18        The court considers ex parte applications on the papers and does not usually

   19   set these matters for hearing. The parties will be notified if the court deems a

   20   hearing necessary. Ex parte applications are solely for extraordinary relief and

   21   should be used with discretion. Sanctions may be imposed for misuse of ex parte

   22   applications. See Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488

   23   (C.D. Cal. 1995).

   24        Ex parte applications that fail to conform to Local Rules 7-19 and 7-19.1,

   25   including a statement of opposing counsel’s position, will not be considered except

   26   upon a specific showing of good cause. The moving party shall serve the opposing

   27   party electronically, if possible. All parties registered for electronic service are sent

   28   a notification of ECF filing each time a document is e-filed with a link to the


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   1    document for one free view. Accordingly, parties registered for electronic service

   2    are considered served once an ex parte application has been e-filed. Parties

   3    enrolled for service by facsimile or mail must be served the ex parte application by

   4    facsimile or personal service.

   5         Following service of the ex parte application by electronic, facsimile, or

   6    personal service, the moving party shall notify the opposing party that any

   7    opposition must be filed no later than twenty-four (24) hours following service.

   8    Counsel will be notified by the clerk of the court’s ruling. If counsel does not

   9    intend to oppose an ex parte application, counsel must inform the Courtroom

   10   Deputy Clerk at (213) 894-5686.

   11        G.       Injunctions and Restraining Orders

   12        Parties seeking preliminary or emergency injunctive relief must comply with

   13   Fed. R. Civ. P. 65 and Local Rule 65. Applications for a Temporary Restraining

   14   Order (“TRO”) are governed by Local Rule 7-19, which applies to ex parte

   15   applications. Thus, oppositions to an Application for a TRO must be filed within

   16   twenty-four (24) hours following service of the Application. The court will not rule

   17   on any Application for a TRO for at least twenty-four (24) hours after the party

   18   subject to the requested order has been served, unless notice is excused as per Fed.

   19   R. Civ. P. 65(b), or the interests of justice so require.

   20        H.       Continuances

   21        The court has a strong interest in keeping scheduled dates certain. Changes

   22   in dates are disfavored. Trial dates set by the court are firm and will not readily be

   23   changed. Therefore, a request to continue or extend the date of any matter before

   24   this court must be supported by a sufficient factual basis that demonstrates good

   25   cause why the change in the date is essential. Without such compelling factual

   26   support and a showing of due diligence, requests continuing dates will not be

   27   approved. Counsel requesting a continuance or extension of time must file

   28   electronically a request or, if the parties are in agreement, a stipulation which


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   1    includes a detailed declaration of the grounds for the requested continuance or

   2    extension of time. A proposed order in Word format must be emailed directly to

   3    the court’s chambers email address at fla_chambers@cacd.uscourts.gov on the day

   4    the document is e-filed. The proposed order must include the entire relief the

   5    parties seek.

   6         Failure to comply with the Local Rules and this Order will result in rejection

   7    of the request without further notice to the parties. Requests extending scheduling

   8    dates do not become effective unless and until this court so orders. Counsel shall

   9    avoid submitting requests for continuance or extension of time less than five (5)

   10   business days prior to the expiration of the scheduled date. A request to continue or

   11   extend dates or deadlines that have already expired constitutes a presumptive lack

   12   of due diligence.

   13        I.       Communications with Chambers

   14        Counsel must not attempt to contact the court or chambers staff by email,

   15   telephone, or ex parte means. For appropriate matters only, counsel may contact

   16   the Courtroom Deputy Clerk via chambers email address at

   17   twyla_freeman@cacd.uscourts.gov, or by telephone at (213) 894-5686. Counsel

   18   must not contact the Courtroom Deputy Clerk regarding the status of any matter

   19   before the court. Counsel must include on all papers his or her email address,

   20   telephone number, and facsimile number to facilitate communication with the

   21   Courtroom Deputy Clerk.

   22        J.       Order Setting Scheduling Conference

   23        Pursuant to Fed. R. Civ. P. 16(b), the court will issue an order setting a

   24   scheduling conference as required by Fed. R. Civ. P. 26 and the Local Rules of this

   25   court. Strict compliance with Fed. R. Civ. P. 16 and 26 is required.

   26        K.       Settlement Conference / Alternative Dispute Resolution (“ADR”)

   27        As stated in Local Rule 16-15, the parties in every action must participate in

   28   a Settlement Conference or Alternative Dispute Resolution (“ADR”) procedure.


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   1    The court will not hold a final pretrial conference or convene a trial unless and until

   2    all parties, including the principals of all corporate parties, have completed ADR.

   3         This court participates in the court’directed ADR Program whereby the court

   4    refers the parties to the Magistrate Judge, the court Mediation Panel, or private

   5    mediation. See General Order 11-10, § 5.1. If a Notice to Parties of Court-Directed

   6    ADR Program (ADR-08) has been filed in this action, counsel must furnish and

   7    discuss it with their clients in preparation for the Fed. R. Civ. P. 26(f) conference.

   8    Counsel should state their preferred ADR procedure in their Joint Rule 26(f)

   9    Report. The court will refer the action to a procedure at the initial scheduling

   10   conference or in a Scheduling and Trial Order. More information about the court’s

   11   ADR Program, the Mediation Panel, and mediator profiles is available on the

   12   court’s website at https://www.cacd.uscourts.gov/attorneys/adr.

   13
   14
           IT IS SO ORDERED.
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   16 Dated: April 2, 2025
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